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                                          No. 23-1849


          In the United States Court of Appeals for the Fourth Circuit

                  In re: South Carolina Department of Parks,
                            Recreation and Tourism
                In re: Google Advertising Antitrust Litigation
                       State of Texas, et al. v. Google LLC

                        South Carolina Department of Parks,
                             Recreation, and Tourism,

                                                                         Movant – Appellant

                                               v.

                                        Google LLC

                                                                   Respondent – Appellee

                         On Appeal from the United States District Court
                            for District of South Carolina at Columbia


                        Respondent – Appellee’s Brief

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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                           DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1849
        No. __________             Caption: In
                                            __________________________________________________
                                               re: South Carolina Department of Recreation and Tourism

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Google LLC
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                     respondent-appellee       makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?     ✔ YES       NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of
                 Alphabet, Inc., a publicly traded company.



        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Jamie A. Aycock
        Signature: ____________________________________                            08/25/2023
                                                                            Date: ___________________

                     Google LLC
        Counsel for: __________________________________




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                                    Statement of Issues

              1. State sovereign immunity protects only the “States . . . as joint sover-

        eigns.” 1 But as sovereign, “a State can always waive its immunity,” 2 including by

        suing in federal court. 3 And a State’s waiver “necessarily nullifie[s]” any sovereign

        immunity shared by “an arm of the State.” 4

              South Carolina sued Google LLC and Alphabet Inc. (collectively “Google”)

        in federal court and instructed Google to propound defensive discovery directly on

        its agencies. Even so, South Carolina’s Department of Parks, Recreation, and Tour-

        ism (“Department”) so far refuses to follow the resulting subpoena under Federal

        Rule of Civil Procedure 45 (“Subpoena”), instead invoking the same state sovereign

        immunity South Carolina waived by suing in federal court.

              The first issue is:

                     May the Department invoke sovereign immunity South
                     Carolina has already waived?




        1
          Fed. Maritime Comm’n v. S.C. State Ports Auth., 535 U.S. 743, 765 (2002) (quotation
        marks omitted).
        2
          Hutto v. S.C. Ret. Sys., 773 F.3d 536, 543 (4th Cir. 2014).
        3
          Stewart v. North Carolina, 393 F.3d 484, 489 (4th Cir. 2005).
        4
          Owen v. City of Independence, 445 U.S. 622, 645 (1980).

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              2. If the Court finds that the Department’s sovereign immunity is not waived,

        the Court must then resolve a series of issues about state sovereign immunity’s in-

        teraction with Rule 45 subpoenas:

                     a. State sovereign immunity bars only private suits against
                     unconsenting States. 5 Is a Rule 45 subpoena a suit?

                     b. Federal subpoenas are district court mandates carrying
                     out federal law. 6 If a Rule 45 subpoena is a suit, is it a pri-
                     vate suit?

                     c. The Ex parte Young exception to state sovereign immun-
                     ity allows private suits seeking to compel state officials to
                     prospectively comply with federal law. 7 If a Rule 45 sub-
                     poena is a private suit, does the Subpoena fall under the Ex
                     parte Young exception?




        5
          See Fed. Mar. Comm’n, 535 U.S. at 755-56.
        6
          See generally Fed. R. Civ. P. 45.
        7
          Va. Off. for Prot. & Advoc. v. Stewart, 563 U.S. 247, 254-55 (2011).

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                                         Introduction

              This appeal presents a straightforward question: May an arm of the State seek

        shelter in sovereign immunity the State has already waived? Common sense and

        binding precedent say no. When South Carolina sued Google in federal court, it con-

        sented to its lawsuit’s complete determination, including obligations imposed by the

        Federal Rules of Civil Procedure. South Carolina expressly passed its discovery ob-

        ligations onto its component agencies, and those agencies have no remaining sover-

        eign immunity to draw from. The district court correctly rejected the Department’s

        motion to quash and ordered the Department to produce the subpoenaed records.

        The Court should affirm.

              The Department’s appeal also raises questions about whether and how state

        sovereign immunity affects non-party discovery—questions of first impression di-

        viding the circuits. Those questions are not determinative here, however, because

        even if the Department is a non-party, South Carolina’s waiver of sovereign immun-

        ity controls.

              If the Court reaches those contingent issues, however, it will find the over-

        whelming weight of precedent has it right: Discovery under the Federal Rules does

        not implicate state sovereign immunity. Sovereign immunity bars only private suits

        against States. The Subpoena is neither a suit nor private. And even if it were a pri-

        vate suit, the Ex parte Young exception to state sovereign immunity would allow it.

        Whatever path the Court chooses, it should affirm.
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                                    Statement of the Case

        I.    South Carolina Sued Google in Federal Court on Federal and State
              Claims.

              Several States sued Google “in the Eastern District of Texas . . . , alleging that

        Google’s digital advertising practices violate sections 1 and 2 of the Sherman Act, as

        well as the laws of their states.” JA 510. Their claims “focused on the multiple roles

        played by [Google] in the purchase and sale of display ads on commercial websites

        and ad impressions on mobile apps.” JA 510. The JPMDL transferred that suit to

        the Southern District of New York (“MDL court”) for coordinated pretrial proceed-

        ings. JA 510.

              After the transfer, South Carolina, represented by its Attorney General,

        moved to intervene “as a plaintiff state, in the public interest and on behalf of the

        people of South Carolina.” JA 478-480. South Carolina’s motion relied on the Fed-

        eral Rules of Civil Procedure, arguing: “South Carolina’s Motion to Intervene

        should be granted as it will allow South Carolina to resolve its disputes in a case that

        shares common questions of law and fact, is timely, and is permitted under the Fed-

        eral Rules of Civil Procedure.” JA 484. The MDL court granted the motion.

              The States’ second amended complaint then included South Carolina as a

        plaintiff. JA 177-190. South Carolina is still a plaintiff. JA 214-215. South Carolina

        and the other state plaintiffs expressly sue Google “in their respective sovereign ca-

        pacities and as parens patriae on behalf of the citizens, general welfare, and economy




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        of their respective States.” JA 232. They expressly invoke federal jurisdiction over

        both their federal and state-law claims. JA 233.

              The MDL court granted Google’s motion to dismiss the States’ Sherman Act

        claim premised on certain agreements between Google and Facebook and rejected

        various theories of liability. JA 508-509. The parties stipulated to the dismissal of the

        States’ state-law claims to the extent those claims were based on those agreements

        and theories. JA 199-201. The state-law claims otherwise remain pending.

        II.   South Carolina Passed Its Discovery Obligations Down to Its Component
              Agencies.

              The MDL court stayed discovery while it considered Google’s motion to dis-

        miss. JA 175. Following the court’s order on the motion to dismiss, the States pushed

        hard to require Google’s productions on tight timelines and complained about “the

        snail’s pace of discovery-related negotiations in the MDL.” See JA 474-476. They

        have not been forthcoming with their own discovery, however.

              Google served discovery on the States, including requests for the information

        the Subpoena covers. See JA 93-95. In response, the “State Plaintiffs objected on the

        basis that they do not have the authority to search for documents that are held by

        other state agencies or other governmental entities.” JA 94. Rather than consume

        resources showing that States of course have the authority to get documents from

        their component agencies, Google worked with the States—serving subpoenas di-

        rectly on the State agencies. See JA 94-95; Cf. 1 Discovery Proceedings in

        Federal Court § 17:4 (3d ed.) (“[A] subpoena under Rule 45 may be served


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        upon both party and nonparty witnesses.”). The States endorsed “these subpoenas”

        as “the proper channels.” JA 94-95.

                 Every agency and official subpoenaed—including in South Carolina—com-

        plied, except the Department and its general counsel. See JA 140-141.

                 The Subpoena issued from the MDL court to the Department through Emily

        Johnson, the Department’s general counsel, requesting production nearby in Co-

        lumbia, South Carolina.




        JA 32.

                 The Subpoena mandates production of records highly relevant to the States’

        claims and Google’s defense. See JA 36-63. The States allege that Google engaged in

        anticompetitive behavior in its display advertising business. See JA 221-222. The

        Subpoena seeks records bearing directly on the Department’s use of display adver-

        tising products and its assessment of Google’s products as well as Google’s compet-

        itors. For instance, the Subpoena seeks information on “whether and why [the De-

        partment] use[s] multiple Ad Buying Tools to purchase Display Advertising,” as



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        well as documents sufficient to show the “Ad Tech Products that [the Department]

        [has] used during the Relevant time period.” JA 61-62.

        III.   The District Court Denied the Department’s Motion to Quash.

               The Department invoked federal jurisdiction in the District of South Carolina

        to challenge the Subpoena. JA 7-8. The Department’s only argument was that South

        Carolina’s sovereign immunity exempted the Department from compliance. JA 14-

        23. 8 Recognizing that South Carolina consented to federal jurisdiction, the Depart-

        ment argued South Carolina’s consent does not encompass the Department. JA 24-

        27.

               The district court denied the Department’s motion, concluding that “it

        makes little sense to find a state’s immunity can be imputed to its agencies but not

        its waiver of such immunity.” JA 164.

               The Department appealed. JA 166. Google agrees with the Department that

        the collateral order doctrine applies here and makes the district court’s order reject-

        ing sovereign immunity an appealable final judgment.




        8
         The Department did not object on “trade secrets” grounds, contra Br. 4, and offers
        no support for its conclusory label.

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                                 Summary of the Argument

              I. State “sovereign immunity is an element of state sovereignty, not a categor-

        ical limitation on the federal judicial power.” Litman v. George Mason Univ., 186 F.3d

        544, 550 (4th Cir. 1999). In exercising its sovereignty, “a State may waive” sovereign

        immunity “at its pleasure . . . by a general appearance in litigation in a federal court.”

        Petty v. Tenn.-Mo. Bridge Comm’n, 359 U.S. 275, 276 (1959). In South Carolina, the

        State’s Attorney General holds the reins to the State’s litigation conduct. Exercising

        that control, he caused the State to make a general appearance in federal court to sue

        Google. That general appearance waived the State’s sovereign immunity and con-

        sented to the obligations imposed by the Federal Rules of Civil Procedure, including

        Rule 45 requiring compliance with subpoenas.

              The Department is an arm of the State. The Department has no existence—

        let alone sovereign immunity—apart from the State. South Carolina’s suit against

        Google in federal court leaves the Department with no sovereign immunity to exert

        against the Subpoena. The Department’s efforts to claw back sovereign immunity

        fail: Each proceeds as if South Carolina’s Attorney General is the plaintiff in the

        State’s suit against Google rather than the State itself. The Department’s clumsy

        sleight of hand cannot overcome the record. The State sued Google, and it may not

        “selective[ly] use . . . ‘immunity’ to achieve litigation advantages.” Lapides v. Bd. of

        Regents of Univ. Sys. of Ga., 535 U.S. 613, 620 (2002).




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              II. South Carolina’s waiver means the Court need not decide whether sover-

        eign immunity applies at all. Even so, should the Court consider the question, the

        Court will find that sovereign immunity offers no exemption from the Subpoena.

              Despite sovereign immunity, States “may still be bound by some judicial ac-

        tions without their consent.” Tenn. Student Assistance Corp. v. Hood, 541 U.S. 440,

        446 (2004). State sovereign immunity bars only private suits against unconsenting

        States. But the Subpoena is not a suit. Rule 45 subpoenas do not assert claims against,

        resolve any dispute with, or seek any judicial remedy from their recipients. Subpoe-

        nas are ancillary judicial mandates exercising courts’ judicial investigative powers.

        The lone circuit court decision holding otherwise misreads Supreme Court prece-

        dent, sister court precedent, and relevant history. In any event, because Rule 45 sub-

        poenas issue from federal courts to vindicate federal judicial power, subpoenas are

        also not private. And even if subpoenas were private suits, the Ex parte Young excep-

        tion to state sovereign immunity would apply here because the Subpoena issued to

        the Department through a state official and demands prospective compliance with

        federal law. See Ex parte Young, 209 U.S. 123 (1908).




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                                              Argument

        I.     South Carolina Waived Any Sovereign Immunity the Department May
               Have from the Subpoena.

               South Carolina consented to federal determination of its suit against Google,

        including federal courts’ collection of evidence. South Carolina’s consent binds its

        components, including the Department.

               A.     South Carolina waived state sovereign immunity when it sued
                      Google in federal court.

               South Carolina waived its sovereign immunity when it made a “general ap-

        pearance in litigation in a federal court” to sue Google. Petty, 359 U.S. at 276; accord,

        e.g., Lapides, 535 U.S. at 622. The Department does not argue otherwise.

               South Carolina’s consent to jurisdiction includes consent to the obligations

        imposed by the Federal Rules of Civil Procedure: When a State sues in federal court,

        it “thereby consents to the federal forum’s rules of procedure.” In re Creative Gold-

        smiths of Wash., D.C., Inc., 119 F.3d 1140, 1148 (4th Cir. 1997). For example, the

        State’s suit waives its sovereign immunity from compulsory counterclaims under

        Rule 13. See id. at 1148-49.

               The Federal Rules include significant discovery obligations—“one of the

        most significant innovations of the Federal Rules of Civil Procedure.” 1 Discov-

        ery Proceedings in Federal Court § 1:1; see Fed. R. Civ. P. 26-37, 45.

        South Carolina has invoked federal discovery rules to its advantage. See supra, pp. 2-

        3. But “[d]iscovery . . . is not a one-way proposition. It is available in all types of cases



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        at the behest of any party, individual or corporate, plaintiff or defendant.” Hickman

        v. Taylor, 329 U.S. 495, 507 (1947).

              South Carolina invokes the benefits of federal jurisdiction and so must meet

        these obligations under the Rules like anyone else.

              B.     South Carolina’s waiver includes the Department.

              As South Carolina goes, so goes the Department. The Department lacks any

        jural identity independent of the State. 9 So even if “subpoena immunity” were some

        defense, Br. 6, the Department has no such immunity independent of the State. The

        Department’s dependence on South Carolina’s sovereign immunity means the

        State’s waiver is the Department’s waiver.

                     1.     The State is the real party in interest here, so its waiver
                            controls.

              “[S]overeign immunity . . . bars suits against States but not lesser entities.”

        Alden v. Maine, 527 U.S. 706, 756 (1999) (emphasis added). As it must, then, the

        Department asserts South Carolina’s sovereign immunity. Cf. Ristow v. S.C. Ports

        Auth., 58 F.3d 1051, 1053 (4th Cir. 1995) (“[T]he Ports Authority . . . is the alter ego

        of the State of South Carolina” and so “is entitled to Eleventh Amendment immun-

        ity from suit.”). The Department asserts sovereign immunity as an “arm of the

        state.” Br. 31.


        9
         See, e.g., S.C. Dep’t of Disabilities & Special Needs v. Hoover Universal, Inc., 535 F.3d
        300, 303-04, 308 (4th Cir. 2008) (concluding state agency is not a “citizen” under
        28 U.S.C. § 1332 because South Carolina is not); cf. S.C. Code § 51-1-60 (powers of
        the Department; omitting power to sue or be sued).

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              What does it mean to be an “arm of the state”? The Supreme Court answered

        that question in Arkansas v. Texas, 346 U.S. 368 (1953). The Constitution makes

        States amenable to suit in the Supreme Court on claims by other States. U.S. Const.

        art. III, § 2, cl. 2. In Arkansas v. Texas, Texas challenged the Court’s original juris-

        diction, arguing that “the injured party” there was “the University of Arkansas,

        which does not stand in the shoes of the State.” 346 U.S. at 370. The Court disa-

        greed: “The University of Arkansas is her agency in the educational field—a branch

        or department of the State”—so “Arkansas [was] the real party in interest.” Id. at

        371. The Department’s name is on the caption in this appeal, but South Carolina is

        the real party here.

              What happens to the State’s arm when the real party in interest waives sover-

        eign immunity? The Supreme Court answered that question in Owen v. City of Inde-

        pendence, 445 U.S. 622 (1980). In discussing sovereigns’ historical control of munic-

        ipalities’ immunity, the Court explained that “the municipality was an arm of the

        State . . . when acting in [its] ‘governmental’ or ‘public’ capacity.” Id. at 645. But

        when the “State expressly or impliedly allows itself, or its creation, to be sued,”

        “sovereign immunity” for the State’s creation “is necessarily nullified.” Id. at 645-

        46 (emphasis added). When the State waives its sovereign immunity, none is left for

        its arms.




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                     2.     The Department’s efforts to escape South Carolina’s
                            waiver fail at every level.

              The law described is straightforward and defeats the Department’s claim of

        “subpoena immunity.” Facing this clarity, the Department tries obfuscation. The

        Department spends the second-half of its brief arguing that South Carolina’s “At-

        torney General did not waive [the Department’s] immunity . . . by joining the anti-

        trust case against Google.” Br. 20 (capitalization altered and bolding removed); see

        also Br.32 (“[T]he Attorney General and [the Department] did not act unitarily in

        connection with the Attorney General’s antitrust case.”). But the Attorney General

        did not join the underlying suit at all. The State did.

              The Attorney General is no more than South Carolina’s lawyer. The Supreme

        Court in Lapides established that “a state attorney general’s invocation of federal-

        court jurisdiction” on the State’s behalf waives the State’s immunity, no matter

        what state law says. 535 U.S. at 623; see Lee-Thomas v. Prince George’s Cnty. Pub. Sch.,

        666 F.3d 244, 250 (4th Cir. 2012). And even before Lapides, the Court had “consist-

        ently . . . found a waiver when a State’s attorney general, authorized (as here) to

        bring a case in federal court, has voluntarily invoked that court’s jurisdiction.”

        Lapides, 535 U.S. at 622. When acting as the State’s lawyer, the Attorney General has

        broad authority under South Carolina law to bring the State into litigation, and his

        decision to do so waives the State’s sovereign immunity.




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                            a.      The State sued Google.

              The Department’s effort to escape South Carolina’s waiver rests entirely on

        the faulty premise that the claims in the underlying lawsuit are the “Attorney Gen-

        eral’s . . . claims.” Br. 24 (capitalization altered and bolding removed). But South

        Carolina’s suit against Google is not the Attorney General’s any more than the De-

        partment’s appeal is Willoughby Humphrey & D’Antoni, P.A.’s. The Department

        confuses party with counsel.

              The Attorney General has no claims against Google. South Carolina, however,

        has several, which it pursues as the State in its sovereign and parens patriae capacity.




        JA 232.




        JA 447.

              The Attorney General is not a Plaintiff—the Attorney General is South Caro-

        lina’s representative and agent. See Link v. Wabash R.R., 370 U.S. 626, 634 (1962)

        (in “our system of representative litigation . . . each party is deemed bound by the


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        acts of his lawyer-agent”); Ex parte Ayers, 123 U.S. 443, 501 (1887) (“The state is a

        political corporate body” that “can act only through agents.”).

              As the Department takes pains to explain, waivers of sovereign immunity must

        be clear to be effective. Br. 21-24. “The relevant ‘clarity’ here,” however, “must

        focus on the litigation act the State takes that creates the waiver,” not the State’s (or

        the Department’s) “preference or desire, which might, after all, favor selective use

        of ‘immunity’ to achieve litigation advantages.” Lapides, 535 U.S. at 620. State sov-

        ereign immunity is not a tool for “States to achieve unfair tactical advantages.” Id. 10;

        see Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 385 (1821) (Marshall, C.J.) (giving

        “great consideration” to the “mischievous consequences of the construction [of

        state sovereign immunity] contended for on the part of Virginia”).

              The controlling litigation act is South Carolina suing Google. The State’s suit

        against Google in federal court is a clear waiver of the State’s sovereign immunity and

        consent to the federal rules’ application to the State. Even here in this appeal, the

        State is the real party in interest. See Arkansas, 346 U.S. at 341. And as an arm of the

        State, the Department is bound by the State’s act. See Owen, 445 U.S. at 645-46.

              None of the Department’s tertiary arguments correctly names the party in the

        underlying proceeding, so none has merit. But even substituting the State, the




        10
          For instance, States cannot be allowed to invoke federal jurisdiction offensively
        and hinder any defense by balkanizing their agencies to thwart effective discovery.

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        Department’s arguments about custody of records, capacity, and compartmentaliz-

        ing waiver fail on their own terms.

              Custody, possession, or control. According to the Department, “[i]t is undis-

        puted that [the Department’s] records are ‘not within the possession, custody, or

        control of the Attorney General.’” Br. 24 (quoting JA 94); Fed. R. Civ. P. 34(a)(1).

        The Department’s claim is both beside the point and incorrect.

              The Department’s claim is irrelevant for two reasons. One, Rule 34 does not

        limit the scope of the State’s sovereign immunity waiver. Two, Rule 34 asks what is

        in the “party’s possession, custody, or control,” not what is in counsel’s possession,

        custody, or control. Fed. R. Civ. P. 34(a)(1) (emphasis added). The Department’s

        records necessarily are in the State’s possession, custody, and control because the

        Department is the State. See Arkansas, 346 U.S. at 341.

              The Department’s claim is wrong because Google never agreed that the At-

        torney General lacks possession, custody, or control of the Department’s records.

        The Department cites a letter from counsel for the States, not from Google. See JA 93-

        97. And even in that letter, the Attorneys General’s supposed lack of possession,

        custody, or control of agency documents is just one of two independent grounds—

        the other being convenience—States’ counsel offers for why Google should sub-

        poena each agency individually. See JA 94.

              Though the Attorney General may not have possession, it does have control

        over the Department’s records for federal discovery purposes. See, e.g., Ill. ex rel.



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        Raoul v. Monsanto Co., 2023 WL 4083934, at *2 (N.D. Ill. June 20, 2023) (“[T]he

        Illinois Attorney General . . . must produce responsive documents possessed by state

        agencies.”); United States v. ATT Co., 461 F. Supp. 1314, 1331-34 (D.D.C. 1978)

        (similar, United States Attorney General).

              Federal procedure is a question of federal law. But even under South Caro-

        lina’s “own government structure,” Br. 26, records needed in State litigation are

        “within the possession, custody or control of the Attorney General” even if those

        records reside with other state agencies, South Carolina v. Purdue Pharma L.P., 2019

        WL 3753945, at *1 (S.C. Com. Pl. July 05, 2019) (rejecting contrary federal decision

        under the federal rule for failing to appreciate South Carolina’s structure); see State

        ex rel. Daniel v. Broad River Power Co., 153 S.E. 537, 560 (S.C. 1930) (holding Attor-

        ney General may “exercise all such power and authority as public interests may,

        from time to time, require”) (cleaned up). 11

              Indeed, were Attorney General Alan Wilson inclined, he could take over the

        Department’s representation right now: “[T]he Attorney General’s authority to

        ‘conduct’ the State’s litigation is meant in the broadest sense of the word — i.e.,

        oversight and control,” and “[s]uch oversight and control . . . may arise at any stage

        of the litigation,” including “prosecut[ing] an appeal over the affected agency’s



        11
          The Department (at 3, 24, 26) cites a proposed state bill to overrule Purdue
        Pharma’s result, but that bill cannot change the meaning of Federal Rule of Civil
        Procedure 34. Neither can “South Carolina’s Freedom of Information Act.” Br. 26-
        27.

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        objection.” S.C. Atty Gen. Op., 2011 WL 5304078, at *15-16 (Oct. 26, 2011). And he

        could then agree to supply the subpoenaed records. See Cooley v. S.C. Tax Comm’n,

        28 S.E.2d 445, 450-51 (S.C. 1943) (rejecting the efforts of two of the three members

        of the South Carolina Tax Commission to disapprove the settlement by the Attorney

        General of a suit brought against the Tax Commission); S.C. Code § 1-7-100(2)

        (providing Attorney General may “[b]e present at the trial of any cause in which the

        State is a party or interested and, when so present, shall have the direction and man-

        agement of such prosecution or suit.”). 12

              Parens patriae and private enforcers. The Department next argues that the

        State’s waiver does not reach the Department because the State pursues Google in

        a “parens patriae” or “private” capacity. Br. 28-31. According to the Department,

        “[i]t is undisputed that the state plaintiffs brought the federal antitrust claims only

        as private enforcers not as sovereigns,” and South Carolina’s state-law claims in a

        “parens patriae role.” Br. 29-30. The Department’s arguments misstate the record,

        confuse several concepts, and are just wrong.

              The Department’s arguments fail at the start because their major premise—

        the capacity in which a State sues in federal court controls the reach of its resulting

        waiver—lacks any support. That idea conflicts with “the commonsense observation



        12
          It is plausibly because the Attorney General has that power and is also counsel in
        the underlying litigation that the Department turned to outside counsel to prosecute
        the motion to quash—outside counsel that required Attorney General approval. See
        S.C. Code § 1-7-170(A).

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        that when judges must decide jurisdictional matters, simplicity is a virtue.” Miss. ex

        rel. Hood v. AU Optronics Corp., 571 U.S. 161, 172-73 (2014) (quotation marks omit-

        ted). When a State sues, the State’s immunity is waived.

               At any rate, South Carolina is suing in its sovereign capacity. The State says

        so in its complaint: “Plaintiff States bring this action . . . in their respective sovereign

        capacities.” JA 262. The Department is in no position to retract the State’s pleading.

               In addition, South Carolina is pursuing state-law claims against Google, see JA

        218-219, and “enforc[ing] a legal code, both civil and criminal,” is “the exercise of

        sovereign power,” Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592, 601 (1982)

        (emphasis added). The Department says South Carolina could not be pursuing its

        state-law claims against Google in its sovereign capacity because its suit’s purpose

        “is to protect the citizens of South Carolina.” Br. 30. But the same is true for enforcing

        any state law. The general welfare of the citizenry motivates most laws. Cf. S.C.

        Const. art. III, § 34 (generally prohibiting special laws). Protecting “the health and

        welfare of its citizens” via state law is an exercise of “sovereign lawmaking powers,”

        and “enforc[ing]” that state law vindicates the State’s “sovereign inter-

        est[].”Snapp, 458 U.S. at 607.

               The Department misses South Carolina’s pursuit of sovereign interests be-

        cause it misunderstands parens patriae, which is no more than a rule of standing. See

        id. at 600-01 (distinguishing the standing concept from other uses of the term). Even

        when not directly injured, a State may sue in federal court under federal law as parens



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        patriae to vindicate “the well-being of its populace.” Id. at 602; see Massachusetts v.

        EPA, 549 U.S. 497, 519-20 (2007). But parens patriae does not operate to the exclu-

        sion of sovereignty.

              A State suing as parens patriae is still suing as “a sovereign State,” “not . . . a

        private individual.” Massachusetts, 549 U.S. at 518 (emphasis added). For that rea-

        son, a State “is entitled to special solicitude in [the] standing analysis.” Id. at 520.

        And only the State as sovereign possesses the quasi-sovereign interests necessary for

        parens patriae standing. See Snapp, 458 U.S. at 608 n.15; Hawaii v. Standard Oil Co.

        of Cal., 405 U.S. 251, 258 (1972). Whatever the theory of standing, South Carolina

        as sovereign is still the plaintiff, so South Carolina’s sovereign immunity is waived.

        Cf. La. ex rel. Caldwell v. Allstate Ins. Co., 536 F.3d 418, 431-32 (5th Cir. 2008) (hold-

        ing State’s litigation conduct as parens patriae waived sovereign immunity), abrogated

        on other grounds by AU Optronics Corp., 571 U.S. 161; Berrey v. Asarco Inc., 439 F.3d

        636, 643-45 (10th Cir. 2006) (same for Indian tribe).

              South Carolina does not lose its sovereign status “when bringing its federal

        claims for injunctive relief” under Section 16 of the Clayton Act. Br. 3, 22. The De-

        partment cites the MDL court explaining that “a plaintiff proceeding under section

        16 does not act in the capacity of a sovereign but as a private enforcer,” JA 593, but

        the Department confuses analogy with reality. As both Google and the MDL court

        made clear, the States sue under Section 16 as parens patriae, JA 503, JA 592, and so

        are necessarily suing as “a sovereign State.” Massachusetts, 549 U.S. at 518.



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              The MDL court was applying laches and following the reasoning of New York

        v. Facebook, Inc., which concluded that because States qualify as “persons” under

        Section 16, 13 “states, like private parties,” are subject to laches. 549 F. Supp. 3d 6,

        39 (D.D.C. 2021) (emphasis added), aff’d, 66 F.4th 288 (D.C. Cir. 2023). But the

        Facebook court recognized that the States are still States. See id. at 40 (“giving the

        States’ interests significantly more weight than a private actor’s would receive”). So

        again, the State sued and waived the State’s sovereign immunity.

              Compartmentalizing. Relying on a handful of district court decisions, the De-

        partment argues that “waiver by one arm of the state” is not “necessarily . . . a

        waiver by all.” Br. 31. Here the State waived, so none of its arms has immunity left.

              Even if it were a single arm that waived, however, the result would be the

        same. The district courts divvying up sovereign immunity among component agen-

        cies missed that sovereign immunity “bars suits against States but not lesser enti-

        ties,” Alden, 527 U.S. at 756, and that whatever arm of the State sues, the State is

        “the real party in interest” waiving immunity, Arkansas, 346 U.S. at 371. If a State

        allows its agencies to sue in federal court, it is allowing them to waive the State’s

        sovereign immunity. See Lapides, 535 U.S. at 624. 14



        13
           See Georgia v. Evans, 316 U.S. 159, 162 (1942). Otherwise, States could not seek
        injunctions under Section 16 at all. See New York v. Meta Platforms, Inc., 66 F.4th
        288, 297 (D.C. Cir. 2023).
        14
           Of course, the waiver would be limited to determining the suit, including compul-
        sory counterclaims.

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              The Second Circuit’s decision in In re Charter Oaks Associates, 361 F.3d 760

        (2d Cir. 2004) (cited at Br. 32), is not to the contrary. The court did not resolve the

        issue the Department raises; it held that even if a waiver occasioned by one agency

        were limited, it still reached other agencies that shared an interest in the suit. See id.

        at 772. That rule would cover the Department, as the underlying suit challenges

        Google’s display advertising business and the Department is a display advertising

        customer. See supra, pp. 4-5, and South Carolina has not foreclosed seeking damages

        for alleged harm to its agencies.

                            b.       South Carolina law does not help the Department.

              The Department’s final push to escape South Carolina’s waiver relies on the

        structure of South Carolina’s executive branch. See Br. 24-28. But state sovereign

        immunity in federal court is a question of federal law. See Lee-Thomas, 666 F.3d at

        250. And federal law gives effect to the litigation choices of state attorneys general,

        the vagaries of state law notwithstanding. See id. Anyway, South Carolina law gives

        its Attorney General far more power than the Department lets on.

              According to the Department, “[f]ederal courts must defer to a state’s deter-

        mination of its own government structure and delineation of the powers of those who

        exercise government functions.” Br. 24. 15 In fact, state government structure is im-

        material. Because federal “jurisdictional rules should be clear,” the Supreme Court


        15
          In support, the Department cites Gregory v. Ashcroft, 501 U.S. 452 (1991). But Greg-
        ory did not put state structure above federal law; it merely applied a clear statement
        rule to the interpretation of certain statutes affecting States.

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        in Lapides overruled precedent that relied on state law and instead adopted a bright-

        line federal rule: “[F]ederal law . . . finds waiver through a state attorney general’s

        invocation of federal-court jurisdiction.” 535 U.S. at 621, 623; see Lee-Thomas, 666

        F.3d at 250 (repeating Lapides’s rule); see also Va. Off. for Prot. & Advoc. v. Stewart,

        563 U.S. 247, 260 (2011) (“[L]imits on the Federal Government’s power to affect

        the internal operations of a State . . . cannot be smuggled in under the Eleventh

        Amendment.”).

              Even putting Lapides’s rule aside, the Attorney General’s control of South

        Carolina’s litigation conduct still binds the Department. The rule before Lapides was

        that when a State seeks relief in federal court, its invocation of federal jurisdiction

        was a valid waiver so long as the office representing the State was authorized to bring

        the suit. See Lapides, 523 U.S. at 620; Gardner v. New Jersey, 329 U.S. 565, 575 (1947).

        The Department does not dispute that South Carolina law authorized the Attorney

        General to initiate and oversee the State’s suit against Google.

              The Department also vastly overstates its independence from the Attorney

        General. See Br. 25-27. For example, while the Department is not directly under the

        Attorney General in the State’s org chart, the Subpoena’s recipient—the Depart-

        ment’s general counsel—is. See S.C. Code § 1-7-160 (providing generally that

        agency attorneys “at all times are under the supervision and control of the Attorney

        General except as otherwise provided by law”); id. § 1-7-80(1) (“departments are




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        forbidden to employ any counsel for any purpose except through the Attorney Gen-

        eral and upon his advice”).

                Still more, as “the Chief law officer,” the Attorney General is the last word

        on all things legal for the State. Broad River Power, 153 S.E. at 560. The office may

        “exercise all such power and authority as public interests may, from time to time,

        require, and may institute, conduct and maintain all such suits and proceedings as he

        deems necessary for the enforcement of the laws of the State, the preservation of

        order, and the protection of public rights.” Id. (cleaned up). When the Attorney

        General brings an “action in the name of the State,” the State’s suit “speaks for all

        of its citizens.” State ex rel. McLeod v. McInnis, 295 S.E.2d 633, 635 (S.C. 1982).

        Thus, the Attorney General’s litigation prerogative controls even over the objection

        of other executive officers, including the Governor. See State ex rel. Condon v. Hodges,

        562 S.E.2d 623, 626-28 (S.C. 2002) (holding Attorney General may sue the Gover-

        nor in the Governor’s official capacity). The Attorney General has ultimate control

        over the Department’s litigation, see supra, pp. 14-16, so the Attorney General may

        waive the Department’s immunity through its litigation choices, just as happened

        here.




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        II.   State Sovereign Immunity Does Not Excuse the Department or Its
              Officials from Complying with the Subpoena.

              “An appellee may defend, and this Court may affirm, the district court’s judg-

        ment on any basis supported by the record.” Sloas v. CSX Transp. Inc., 616 F.3d 380,

        389 n.5 (4th Cir. 2010). As the district court found, South Carolina’s waiver makes

        a side show of the Department’s arguments that sovereign immunity excuses state

        agencies from complying with Rule 45 subpoenas. Still, should the Court reach that

        question, it will find another reason to affirm: State sovereign immunity is no obsta-

        cle to federal courts’ evidence gathering.

              The “public . . . has a right to every man’s evidence.’” United States v. Bryan,

        339 U.S. 323, 331 (1950) (quoting 3 Wigmore on Evidence § 2192 (3d ed.

        1942)). Giving life to that public right, the Federal Rules provide that a party or “a

        nonparty may be compelled to produce documents and tangible things or to permit

        an inspection.” Fed. R. Civ. P. 34(c); see id. 45. Those rules are “as binding as any

        statute duly enacted by Congress.” Bank of Nova Scotia v. United States, 487 U.S.

        250, 255 (1988); see 28 U.S.C. § 2072(b) (“All laws in conflict with such rules shall

        be of no further force or effect after such rules have taken effect.”). And just as fed-

        eral “judicial control over the evidence in a case cannot be abdicated to the caprice

        of executive officers” of the United States, United States v. Reynolds, 345 U.S. 1, 9-

        10 (1953), it cannot be abdicated to state agencies or officials.

              State sovereign immunity bars private suits against unconsenting States; it

        does not interfere with federal courts’ search for truth. Courts bring in evidence


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        through subpoenas. See Fed. R. Civ. P. 45. Subpoenas are not suits; they are court

        mandates ancillary to the suit from which they arise. Subpoenas are also not private;

        they issue from the federal judicial department and demand compliance with su-

        preme federal law. And even if the Subpoena were a private suit, Ex parte Young al-

        lows it because it commands Department officials to prospectively comply with fed-

        eral law.

                 In conflict with significant precedent and historical evidence, the Fifth Cir-

        cuit’s Russell decision—which the Department parrots—recently questioned the ob-

        ligation of state agencies and officials to supply evidence when called on. But Russell

        is incomplete—the court did not consider several points made here—and is mis-

        guided in every step of its analysis. Rather than repeat Russell’s mistakes, the Court

        should follow the many decisions finding that Rule 45 subpoenas present “no risk of

        an unwarranted intrusion on state sovereignty.” Ott v. City of Milwaukee, 682 F.3d

        552, 555 (7th Cir. 2012) (Wood, J.). 16

                 A.      A federal judicial subpoena is not a suit.

                 States are immune from certain suits. A federal subpoena is a judicial mandate

        fulfilling judicial prerogative. It is not and never has been a suit barred by sovereign

        immunity.




        16
             Accord, e.g., Br. 16-19 (citing cases).

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                      1.     States are immune only from suits.

               State sovereign immunity’s breadth is not unlimited. Despite sovereign im-

        munity, “States . . . may still be bound by some judicial actions without their con-

        sent.” Hood, 541 U.S. at 446; see In re NVR, LP, 189 F.3d 442, 450 (4th Cir. 1999)

        (“[T]he Eleventh Amendment does not reach every variety of judicial proceed-

        ing.”). Thus, in the same generation as the ratification of the Eleventh Amendment,

        the Supreme Court repudiated the notion that sovereign immunity excepted the

        States entirely from federal courts’ reach. See Cohens, 19 U.S. at 405-12.

               “Before [state sovereign immunity] applies, the federal judicial action must

        fairly be deemed a ‘suit.’” In re NVR, 189 F.3d at 450. In turn, state sovereign im-

        munity does not bar every exercise of federal power that favors a private citizen over

        a State because not every federal judicial action is a suit. See, e.g., Cohens, 189 U.S. at

        410 (a writ of error is not a “suit” for sovereign immunity purposes).

               Confining state sovereign immunity to “suits” maintains federal supremacy,

        a constitutional value at least as important as States’ residual sovereignty. Courts

        “have understood the Eleventh Amendment to stand not so much for what it says,

        but for the presupposition of our constitutional structure which it confirms.” Blatch-

        ford v. Native Vill. of Noatak, 501 U.S. 775, 779 (1991). Our structure includes federal

        supremacy, and “in a government acknowledgedly supreme, . . . all its departments

        [are] supreme,” including its judicial department. Cohens, 19 U.S. at 414-15. States

        therefore are bound by federal judicial decrees. See Cooper v. Aaron, 358 U.S. 1, 18-



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        19 (1958). Even “costly” ones. Hutto v. Finney, 437 U.S. 678, 690 (1978). Applying

        state sovereign immunity beyond suits improperly limits federal judicial power.

              Hood illustrates the line between suits sovereign immunity bars and undis-

        turbed exercises of judicial power. Bankruptcy proceedings generally do not offend

        state sovereign immunity, even if they discharge state debt, because the court is ex-

        ercising in rem jurisdiction. See 541 U.S. at 448-49. In Hood, a state agency nonethe-

        less challenged a Congressionally enacted procedure by which a debtor could show

        undue hardship to discharge an otherwise nondischargeable student debt. The Court

        rejected that challenge.

              The dispositive determination in Hood was that the challenged process was

        not some independent action seeking a remedy against the State but merely a neces-

        sary piece of a proceeding the federal court otherwise had full power to adjudicate.

        See Hood, 541 U.S. at 452-54. “As the dissenters in that case pointed out, it was at

        least arguable that the particular procedure that the debtor pursued to establish dis-

        chargeability of her student loan could have been characterized as a suit against the

        State rather than a purely in rem proceeding.” Cent. Va. Cmty. Coll. v. Katz, 546 U.S.

        356, 371 (2006) (discussing Hood). “But because the proceeding was merely ancillary

        to the Bankruptcy Court’s exercise of its in rem jurisdiction, [the Court] held that it

        did not implicate state sovereign immunity.” Id.

              The principle controlling in Hood was not new: One hundred years earlier, the

        Court exclaimed, “the proposition that the 11th Amendment . . . control[s] a court



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        of the United States in administering relief, although the court was acting in a matter

        ancillary to a decree rendered in a cause over which it had jurisdiction, is not open

        for discussion.” Gunter v. Atl. Coast Line R.R., 200 U.S. 273, 292 (1906) (allowing

        ancillary action to enforce judgment).

              In between, the Court applied the same principle in Hutto. There, the district

        court enjoined state officials under Ex parte Young, and then, upon holding the offi-

        cials in contempt of that injunction, ordered them to pay attorney fees out of state

        funds. Hutto, 437 U.S. at 683-86. The Court held that the draw on the State’s treas-

        ury did not turn the contempt proceeding into a suit against the State because the

        proceeding and resulting award were “ancillary to the federal court’s power to im-

        pose injunctive relief” on the officials. Id. at 691. The Court reaffirmed Hutto in Mis-

        souri v. Jenkins, where it held that, in ancillary proceedings, the States are fully sub-

        ject to federal law like anyone else. See 491 U.S. 274, 279-82 (1989) (“the Eleventh

        Amendment did not apply”); accord Frew v. Hawkins, 540 U.S. 431, 441 (2004)

        (“[After] a federal court has entered a consent decree under Ex parte Young, the

        law’s primary response to [a State’s sovereignty] concerns has its source not in the

        Eleventh Amendment but in the court’s equitable powers and the direction given by

        the Federal Rules of Civil Procedure.”).

                     2.     Subpoenas are ancillary judicial mandates.

              A Rule 45 subpoena is not a suit. A Rule 45 subpoena is not “the complaint[]

        of a private person.” Alden, 527 U.S. at 748. A Rule 45 subpoena is not “the



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        prosecution of some demand” against its recipient. Cohens, 19 U.S. at 407. A Rule

        45 “subpoena is not . . . issued by a judicial officer in the resolution of a specific dis-

        pute” between anyone and the subpoena’s recipient. Waste Conversion, Inc. v. Rollins

        Env’t Servs. (NJ), Inc., 893 F.2d 605, 608 (3d Cir. 1990) (en banc). A Rule 45 sub-

        poena is not a “remedy.” Weston v. City Council of Charleston, 27 U.S. 449, 464

        (1829). And a Rule 45 subpoena alone has no “similarities to a traditional civil trial.”

        Hood, 541 U.S. at 452; see Fed. Mar. Comm’n v. S.C. Ports Auth., 535 U.S. 743, 752-

        60 (2002).

               Instead, a Rule 45 subpoena is a district court mandate serving the district

        court’s purposes and allowing the district court to fulfill its judicial functions. The

        “[f]ederal judicial power” includes “investigative powers” that are carried out

        through the “judicial subpoena.” United States v. Morton Salt Co., 338 U.S. 632, 642

        (1950) (emphasis added); see Young v. U.S. ex rel. Vuitton et Fils S.A., 481 U.S. 787,

        821 (1987) (Scalia, J.) (describing “subpoenas” as “orders necessary to the conduct

        of a trial”); U.S. Dep’t of Educ. v. NCAA, 481 F.3d 936, 941 (7th Cir. 2007) (“Sub-

        poenas ancillary to judicial proceedings are issued by courts . . . .”). Thus, Rule “45

        grants a district court the power to issue subpoenas as to witnesses and documents.”

        U.S. Cath. Conf. v. Abortion Rts. Mobilization, Inc., 487 U.S. 72, 76 (1988) (emphasis

        added). “[E]very subpoena must . . . state the court from which it issued.” Fed. R. Civ.

        P. 45(a)(1)(A)(i) (emphasis added). And, “disobedience constitutes contempt




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        of . . . court.” Fed. R. Civ. P. 45 advisory committee note (2013) (emphasis added);

        see Fed. R. Civ. P. 45(g).

              If a subpoena is a proceeding at all, it is a proceeding ancillary to federal courts’

        power to adjudicate the suit from which the subpoena issues. See McCook Metals LLC

        v. Alcoa, Inc., 249 F.3d 330, 334 (4th Cir. 2001) (holding an “ancillary discovery pro-

        ceeding is, by its very terms, an extension of the underlying proceeding”); NCAA,

        481 F.3d at 941. 17 Subpoenas are ancillary by nature—“Historically, courts of com-

        mon law had no machinery to enforce a general discovery of testimony or production

        and inspection of documents before trial.” Fleming James Jr., Discovery, 38 Yale

        L. J. 746, 746 (1929). But “the courts of chancery would . . . compel discovery as

        ancillary to a demand for relief which they had jurisdiction to grant.” Id.; see also Voss

        v. Luke, 28 F. Cas. 1302, 1302 (C.C.D.D.C. 1806) (applying the Judiciary Act of 1789,

        explaining that courts’ power to compel the giving of evidence is “necessary for the

        exercise of their jurisdiction”).

              As an ancillary mandate rather than a suit, a court’s power to subpoena does

        not depend on the subpoena’s target but on the underlying suit from which the sub-

        poena issues. Cf. Fed. R. Civ. P. 45(a)(2) (“A subpoena must issue from the court


        17
          A federal court has “ancillary” power “to enable [it] to function successfully, that
        is, to manage its proceedings, vindicate its authority, and effectuate its decrees,”
        which is “separate” from its ancillary power “to permit disposition by a single court
        of claims that are . . . factually interdependent.” Kokkonen v. Guardian Life Ins. Co.
        of Am., 511 U.S. 375, 379-80 (1994); cf. Missouri v. Fiske, 290 U.S. 18, 24-28 (1933)
        (sovereign immunity bars ancillary claims).

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        where the action is pending.”). “A federal court’s jurisdiction is not determined by

        its power to issue a subpoena; its power to issue a subpoena is determined by its ju-

        risdiction.” In re Marc Rich & Co., A.G., 707 F.2d 663, 669 (2d Cir. 1983); accord U.S.

        Cath. Conf., 487 U.S. at 76; Morton Salt, 338 U.S. at 642.

              Here, there is no dispute that the MDL court had power over the suit South

        Carolina pursues against Google when it issued the Subpoena. As the MDL court

        had the power to issue the Subpoena, “the law’s primary response to [sovereignty]

        concerns has its source not in the Eleventh Amendment but in the court’s equitable

        powers and the direction given by the Federal Rules of Civil Procedure.” Frew, 540

        U.S. at 441. The Department’s state sovereign immunity, if any, is no shield. See,

        e.g., Hood, 541 U.S. at 452-54; Jenkins, 491 U.S. at 279-82; Hutto, 437 U.S. at 691;

        Gunter, 200 U.S. at 292.

                     3.     For centuries, no one considered subpoenas suits.

              An ancillary proceeding need not have historical pedigree to avoid sovereign

        immunity. See Hood, 541 U.S. at 452. Even so, subpoenas have plenty, and that his-

        tory confirms they are not suits. Subpoenas are not “the type of proceedings from

        which the Framers would have thought the States possessed immunity when they

        agreed to enter the Union.” Fed. Mar. Comm’n, 535 U.S. at 756.




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              Courts’ power to compel non-parties to give evidence in civil cases has been a

        feature of Anglo-American law since at least the Perjury Statute of 1563, 18 but that

        compulsion has never been relief awarded as a result of a suit. Cf. Fed. R. Civ. P. 34

        advisory committee note (1991) (distinguishing a subpoena from “an independent

        action”). The only discovery procedure even analogous to a civil lawsuit is the equi-

        table bill of discovery. See 2 Joseph Story, Commentaries on Equity Ju-

        risprudence § 1482 (1836). But those bills were limited to parties seeking dis-

        covery from other parties; they were unavailable for non-parties for the very reason

        that, after the Perjury Statute, “[c]ourts of Law [could] compel the attendance of

        witnesses.” Id. § 1495 n.1 (quotation marks omitted); see id. § 1499; cf. Pressed Steel

        Car Co. v. Union Pac. R.R., 240 F. 135, 136-37 (S.D.N.Y. 1917) (Hand, J.).

              At the Founding, the Framers would have understood well that making the

        federal government supreme and creating a co-equal federal judicial department

        would require state (and federal) compliance with ancillary judicial orders to come

        forward with evidence. It was “too extravagant to be maintained,” for example, that

        the Framers had given the judicial department the power to decide “all cases arising

        under the constitution” yet not the power to evaluate laws against the constitution,

        Marbury v. Madison, 5 U.S. (1 Cranch) 137, 178 (1803)—even state laws, Cohens, 19

        U.S. at 387-88. It is just as implausible that the Framers intended to hamstring the


        18
          See 5 Eliz. c. 9, art. VI (1563) (establishing a ten-pound penalty for witnesses who
        fail to appear after being served “Proces out of any of the Courtes of Recorde wthin
        this Realme”).

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        judicial department’s collection of evidence needed to resolve the cases and contro-

        versies the Framers assigned to it:

                     The right to resort to means competent to compel the pro-
                     duction of written, as well as oral, testimony, seems essen-
                     tial to the very existence and constitution of a court of
                     common law, which receives and acts upon both descrip-
                     tions of evidence, and could not possibly proceed with due
                     effect without them.

        Wilson v. United States, 221 U.S. 361, 372 (1911) (quoting Amey v. Long (1808), 103

        Eng. Rep. 653, 658 (KB) (discussing English practice since the 1500s)); cf. Bank of

        U.S. v. Halstead, 23 U.S. (10 Wheat.) 51, 53 (1825) (“The authority to carry into

        complete effect the judgments of the Courts, necessarily results, by implication,

        from the power to ordain and establish such Courts.”).

              Consider property disputes “between citizens of the same state claiming lands

        under grants of different states.” U.S. Const. art. III, § 2. Early “American record-

        ing laws and institutions” required that property “records of transfers [be] kept on

        file with central authorities.” Maureen E. Brady, The Forgotten History of Metes and

        Bounds, 128 Yale L.J. 872, 891 (2019). It would be strange indeed for the Framers

        to provide judicial power to decide these disputes but not the power to issue subpoe-

        nas duces tecum for the very evidence needed for resolution. Cf., e.g., Seekright v.

        Bogan, 2 N.C. 176, 178 (N.C. Super. L. & Eq. 1795) (per curiam) (“[T]here is a coun-

        terpart of all the old patents and plats lodged in the Secretary [of State]’s office, and

        that might have been produced by force of a duces tecum, and would have been more

        satisfactory evidence than the paper now offered.”) (emphasis added); Delaney v.

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        Reguls. of City of Phila., 1 Yeates 403, 403-04 (Pa. 1794) (per curiam) (subpoena to

        Pennsylvania’s surveyor general for records needed in a boundary dispute).

              Any exemption for state offices would have been foreign to the Framers be-

        cause exemptions were foreign—period. Authorities recognized the duty of all to

        produce evidence long before the Founding. See Kastigar v. United States, 406 U.S.

        441, 443 (1972); Blair v. United States, 250 U.S. 273, 279-80 (1919). 19

              That right included evidence from non-party public offices. See, e.g., Winn v.

        Patterson, 34 U.S. 663, 676-77 (1835) (describing the “common practice” of subpoe-

        naing state offices for land records); Amey, 103 Eng. Rep. at 653 (sheriff’s bailiff); see

        also, e.g., Cong. Globe, 27th Cong., 3d Sess. 81, 89 (1842) (Senate complying

        with judicial subpoena). Subpoenas’ far reach makes sense, as the subpoena power

        originated in the English Chancery, see James Jr., supra, at 746, where even claims

        against the Crown could be heard “without any requirement of the King’s prior con-

        sent.” James E. Pfander, Sovereign Immunity and the Right to Petition: Toward A First

        Amendment Right to Pursue Judicial Claims Against the Government, 91 Nw. U. L. Rev.




        19
          Many of these historical examples involve subpoenas on individuals rather than
        agencies. But outside the Ex parte Young fiction, that distinction makes no difference.
        “The state is a political corporate body [that] can act only through agents,” and “be-
        ing the officers and agents of the state,” they generally “hav[e] no personal interest
        in the subject-matter of” any subpoena, so the “state is . . . the real party.” Ex parte
        Ayers, 123 U.S. at 491, 501; accord Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71
        (1989).

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        899, 914 (1997), see Louis L. Jaffe, Suits Against Governments and Officers: Sovereign

        Immunity, 77 Harv. L. Rev. 1, 6 (1963).

              That reach did not shrink in the States under the Articles of Confederation.

        As the Department concedes, in the States of the Confederation, state courts could

        subpoena public offices despite the States’ sovereign immunity “in their own

        courts.” JA 107; see United States v. Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807) (Mar-

        shall, C.J.). 20 As States’ sovereignty never included any exemption from giving evi-

        dence, the “residuary . . . sovereignty” the States “retain[ed],” The Federal-

        ist No. 39 at 245 (Hamilton), could not have included that exemption.

              A prominent Framer’s own words confirm what history suggests. See United

        States v. Caldwell, 2 U.S. (2 Dall.) 333, 334 n.* (C.C.D. Pa. 1795) (Paterson, J.).

              William Paterson—the key proponent of the New Jersey Plan that resulted in

        the United States Senate, executive appointment of the federal judiciary, and federal

        supremacy—was also a fierce proponent of State sovereignty. 21 Paterson helped

        draft New Jersey’s constitution and, before the Convention, was the State’s




        20
           That subpoena power echoes in state cases just after the Constitution. See, e.g.,
        Marks v. Bryant, 14 Va. 91, 96-97 (1809) (Virginia’s clerks of court); Torrey v. Fuller,
        1 Mass. 524, 525 (1805) (Massachusetts’s treasurer); Seekright, 2 N.C. at 178 (North
        Carolina’s Secretary of State); Delaney, 1 Yeates at 403-04 (Pennsylvania’s surveyor
        general).
        21
           See 1 Max Farrand, Records of the Federal Convention 250-51
        (1911); John R. Vile, The Men Who Made the Constitution 248-50
        (2013).

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        Attorney General. 22 Following the Convention, he served as New Jersey’s governor

        and then Senator. 23 And as a senator, Paterson drafted the Judiciary Act of 1789. 24

        Then, George Washington appointed Paterson Associate Justice of the Supreme

        Court—less than a month after Chisholm v. Georgia. 25

              Riding circuit mere months after the Eleventh Amendment’s ratification

        overruled Chisholm, Justice Paterson presided over a federal trial in Pennsylvania re-

        quiring testimony from two of the State’s judges. Concurring in an order issuing an

        attachment for the judges subpoenaed as witnesses, Justice Paterson remarked:

                     The law operates equally upon all; the high and low, the
                     rich and poor. If we issue a subpoena to a Justice or a Judge,
                     and it is not obeyed, we should be more strict in our pro-
                     ceedings against such characters, than against others,
                     whose office did not so strongly point out their duty.

        Caldwell, 2 U.S. at 334 n.*.

              Showing no favor, Justice Paterson later expressed the same view when the

        witnesses sought were “James Madison, secretary of state,” and “Robert Smith,

        secretary of the navy.” United States v. Smith, 27 F. Cas. 1192, 1228 (C.C.D.N.Y.


        22
           William Paterson, Biographical Directory of the United States
        Congress, https://bioguide.congress.gov/search/bio/P000102 (last visited Oct.
        27, 2023).
        23
           Id.
        24
           Charles Warren, The First Decade of the Supreme Court of the United States, 7 U.
        Chi. L. Rev. 631, 631 (1940).
        25
           See Justices 1789 to Present, Supreme Court of the United States,
        https://www.supremecourt.gov/about/members_text.aspx (last visited Oct. 27,
        2023).

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        1806). Defense counsel in Smith stood up to counter the prosecution’s argument

        “that those witnesses could not be coerced to appear,” but Justice Paterson cut him

        off: “You may save yourself the trouble of arguing that point; the witnesses may un-

        doubtedly be compelled to appear.” Id. at 1218. 26 No office high or low was immune

        from federal judicial subpoenas.

                 Following Justice Paterson’s lead, Chief Justice Marshall (a delegate to the

        Virginia ratifying convention) soon concluded that not even the highest office was

        exempt. During the 1807 trial of Aaron Burr, Marshall imported “the power of a

        court of chancery” and issued “a subpoena duces tecum . . . to the president of the

        United States” for a letter in Thomas Jefferson’s possession. United States v. Burr,

        25 F. Cas. 187, 191 (C.C.D. Va. 1807). Marshall remarked, “That the president of

        the United States may be subpoenaed, and examined as a witness, and required to

        produce any paper in his possession, is not controverted.” Id. And absent some valid

        objection of executive privilege, the President “must stand, as respects that paper,

        in nearly the same situation with any other individual.” Id. Ever since, “[s]itting

        Presidents have responded to court orders to provide testimony and other infor-

        mation with sufficient frequency that such interactions between the Judicial and Ex-

        ecutive Branches can scarcely be thought a novelty.” Clinton v. Jones, 520 U.S. 681,

        704 (1997).




        26
             The Court refused attachment, finding that the witnesses were unnecessary.

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              This history is conclusive: The federal judicial subpoena power has always

        reached all and—at least until Russell—no court had treated a judicial subpoena as a

        suit against a State barred by state sovereign immunity. 27

              B.     If a federal judicial subpoena is a suit, it is the United States’ suit.

              “[T]he structure of the original Constitution itself reflects a waiver of States’

        sovereign immunity” from “suits by the United States against a State.” Torres v.

        Tex. Dep’t of Pub. Safety, 142 S. Ct. 2455, 2462 (2022) (cleaned up). So state sover-

        eign immunity “does not preclude the federal government from bringing suit against

        states in federal court to ensure compliance with federal law.” Litman, 186 F.3d at

        550. Indeed, “the permanence of the Union” requires that limit on state sovereignty.

        United States v. Texas, 143 U.S. 621, 645 (1892). For “[t]he general government,

        though limited as to its objects, is supreme with respect to those objects.” Cohens,

        19 U.S. at 381.

              If judicial subpoenas are suits, they are suits by the United States carrying out

        federal law. “Congress has undoubted power to regulate the practice and procedure

        of federal courts, and may exercise that power by delegating to this or other federal

        courts authority to make rules.” Sibbach v. Wilson & Co., 312 U.S. 1, 10 (1941)


        27
          The Department’s motion to quash in the District of South Carolina did not
        change the nature of the Subpoena. It too was ancillary to the underlying suit. See
        McCook Metals, 249 F.3d at 334. At any rate, the Department sought relief in federal
        court and thereby consented to judicial resolution of the Subpoena’s validity. It can-
        not now complain that the district court accepted the invitation and directed it pro-
        duce the subpoenaed documents.

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        (footnote omitted). Under federal law, “[t]he Supreme Court shall have the power

        to prescribe general rules of practice and procedure . . . for cases in the United States

        district courts.” 28 U.S.C. § 2072(a). And those rules are “as binding as any statute

        duly enacted by Congress.” Bank of Nova Scotia, 487 U.S. at 255.

              Prior to the Founding, the judicial subpoena from courts of law was the

        method “by which writ the King commanded” witnesses to testify or produce doc-

        uments. Amey, 103 E.R. at 654. Through the Rules Enabling Act and Rule 45, those

        sovereign commands now come from federal courts. A Rule 45 “‘subpoena’ is a

        mandate lawfully issued in the name of the court, . . . to compel the attendance of

        witnesses and the production of documents so that the court may have access to all

        of the available information for the determination of controversies before it.” 9A

        Charles A. Wright, et al., Federal Practice and Procedure

        § 2451 (3d ed.) (emphases added); see supra, pp. 27-30. 28 Here, the United States

        through its judicial department is commanding the Department to disclose its rec-

        ords. The structure of the Constitution requires the Department’s compliance.

              That an attorney may sign out a subpoena does not change its nature—a sub-

        poena is still an exercise of “judicial . . . investigative powers.” Morton Salt, 338 U.S.

        at 642; see also Alabama v. North Carolina, 560 U.S. 330, 354-56 (2010) (holding mere

        involvement of non-sovereign actor does not change the nature of the judicial power


        28
          “[T]he word ‘person’ in Rule 45 . . . includes juristic persons like corporations and
        governments as well.” Rosenruist-Gestao E Servicos LDA v. Virgin Enters. Ltd., 511
        F.3d 437, 445 (4th Cir. 2007).

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        exercised). The federal government may authorize “a fit instrumentality to

        acomplish the public objects contemplated” by federal law. Cherokee Nation v. S.

        Kan. Ry., 135 U.S. 641, 657 (1890) (eminent domain); accord, e.g., Luxton v. N. River

        Bridge Co., 153 U.S. 525, 530 (1894). An attorney signing out a subpoena fits that bill.

              “[T]he attorney acts as an officer of the court in issuing and signing subpoe-

        nas.” Fed. R. Civ. P. 45 advisory committee note (1991). “Rule 45 put[s] the attor-

        ney in a position similar to that of [an] administrative agency, as a public officer enti-

        tled to use the court’s contempt power to investigate facts in dispute.” Id. (emphasis

        added). 29 Like a grand jury composed of private citizens, the attorney signing out a

        subpoena is “an appendage of the court, powerless to perform its investigative func-

        tion without the court’s aid.” Brown v. United States, 359 U.S. 41, 49 (1959), over-

        ruled on other grounds by Harris v. United States, 382 U.S. 162 (1965). And so “defi-

        ance of a subpoena is nevertheless an act in defiance of a court order.” Fed. R. Civ.

        P. 45 advisory committee note (1991).

              C.     If the Subpoena were a private suit, Ex parte Young would allow it.

              Along with a suit by the federal government, another “method[] of ensuring

        the States’ compliance with federal law” is a private “suit against a state officer in

        order to ensure that the officer’s conduct is in compliance with federal law.” Semi-

        nole Tribe of Fla. v. Florida, 517 U.S. 44, 71 n.14 (1996) (citing Ex parte Young).



        29
          Cf. EEOC v. Karuk Tribe Hous. Auth., 260 F.3d 1071, 1075 (9th Cir. 2001) (tribal
        sovereign immunity does not apply to federal administrative subpoenas).

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        “[W]hen a plaintiff sues a state official alleging a violation of federal law, the federal

        court may award an injunction that governs the official’s future conduct.” Pennhurst

        State Sch. & Hosp. v. Halderman, 465 U.S. 89, 102-03 (1984).

                 A judicial subpoena is not a suit and is not private. But if the Subpoena were a

        private suit, the Ex Parte Young exception would allow it: The Subpoena issued to

        the Department through Emily Johnson, the Department’s general counsel, requir-

        ing prospective compliance with federal law by Johnson and other Department offi-

        cials. “The service of a federal subpoena on an employee of an entity that is protected

        by sovereign immunity such as the State . . . is neither a suit, nor one against the en-

        tity.” United States DOJ v. Ricco Jonas, 24 F.4th 718, 727 (1st Cir. 2022); see Bonnet

        v. Harvest (U.S.) Holdings, Inc., 741 F.3d 1155, 1162 n.1 (10th Cir. 2014) (“neither a

        state nor a tribe would appear to be immune from a discovery request served on the

        appropriate agency official”).

                 1. “The state has no power to impart to” any official “any immunity from

        responsibility to the supreme authority of the United States.” Ex parte Young, 209

        U.S. at 160. “Ex parte Young gives life to the Supremacy Clause.” Green v. Mansour,

        474 U.S. 64, 68 (1985). So while a state official is the State, 30 sovereign immunity

        does not bar a private suit naming a state official and compelling compliance with the

        supreme authority of the United States. See, e.g., id. To escape sovereign immunity,

        then, a private suit must only name a state official in her official capacity, posit “an


        30
             See supra, p. 33 n.19.

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        ongoing violation of federal law,” and seek “relief properly characterized as prospec-

        tive.” Verizon Md. Inc. v. Public Serv. Comm’n, 535 U.S. 635, 645 (2002).

               A private suit to compel state officials to follow federal law and produce rec-

        ords for inspection and copying satisfies those requirements. The Supreme Court

        held exactly that in Stewart:

                      There is no doubt VOPA’s suit satisfies [Verizon Mary-
                      land’s] straightforward inquiry. It alleges that respond-
                      ents’ refusal to produce the requested medical records vi-
                      olates federal law; and it seeks an injunction requiring the
                      production of the records, which would prospectively
                      abate the alleged violation.

        563 U.S. at 256.

               The Supreme Court reached a similar result in Florida Department of State v.

        Treasure Salvors, Inc., 458 U.S. 670 (1982). There, as part of an in rem admiralty pro-

        ceeding, “a federal court attempted to arrest property held by two state officials and

        bring it within the jurisdiction of the court.” Id. at 673 (plurality op.). The Court

        rejected a Florida agency’s reliance on sovereign immunity to quash judicial service

        on its officials. See id. at 680-82 (plurality op.); id. at 701 (Brennan, J., concurring in

        the judgment in part). The controlling opinion by Justice Stevens and joined by Chief

        Justice Berger, and Justices Marshall and Blackmun reasoned that where a state of-

        ficial has no statutory basis—i.e., a state statute not in conflict with federal law—to

        resist turning over property to the court, his resistance “is not action of the




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        sovereign.” Id. at 692-97 (plurality op.). 31 “The Eleventh Amendment thus did not

        bar the process issued by the District Court to secure possession of [property] by the

        named state officials.” Id. at 699 (plurality op.).

              2. Stewart and Treasure Salvors show sovereign immunity does not bar a fed-

        eral subpoena directing a state official in her official capacity to produce designated

        documents, electronically stored information, or tangible things in the State’s pos-

        session, custody, or control.

              Here, the Subpoena issued to the Department through a state official:




        JA 32. The Subpoena commands prospective compliance by myriad Department of-

        ficials. See JA 57 (defining “You”).




        31
          Justice Stevens’ “plurality . . . constituted the holding of the Court and provide[s]
        the governing standards” because it relies on the “narrowest grounds.” Marks v.
        United States, 430 U.S. 188, 194 (1977); see 458 U.S. at 701 (Brennan, J., concurring
        in the judgment in part). Moreover, the remaining justices’ dissent agreed that sov-
        ereign immunity does not bar suits for possession of property “against individual
        agents” that do “not purport to conclude the rights of the Government” to the prop-
        erty. See Treasure Salvors, 458 U.S. at 706 (White, J., dissenting). Permitting persons
        or courts “to inspect and copy . . . records would not infringe on [state agencies’]
        otherwise rightful ownership and possession of the records.” Ind. Prot. & Advoc.
        Servs. v. Ind. Fam. & Soc. Servs. Admin., 603 F.3d 365, 371 n.5 (7th Cir. 2010) (en
        banc).

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        JA 32. And that compliance is required by federal law. See Fed. R. Civ. P. 45(e) (set-

        ting forth “Duties in Responding to a Subpoena”). Thus, any refusal to obey the

        Subpoena “is not action of the sovereign.” Treasure Salvors, 458 U.S. at 697 (plural-

        ity op. (quotation marks omitted).

              D.     Russell is irrelevant and wrong.

              Building on outlier dicta, 32 the Fifth Circuit in Russell v. Jones held that sover-

        eign immunity barred federal judicial subpoenas to certain state judges to gather ev-

        idence necessary for adjudicating a civil rights claim. 49 F.4th 507, 512 (5th Cir.

        2022); but see Caldwell, 2 U.S. at 333-34. The Department asks the Court to “follow

        Russell and hold that states are immune from subpoenas in federal court.” Br. 20.

              Russell is wrong, but first, it is irrelevant. The only question before the court

        was whether a judicial subpoena is a “suit.” 49 F.4th at 513. The parties did not raise,

        and the court did not consider, whether—if a judicial subpoena is a suit—it is a “pri-

        vate” suit or whether the Ex parte Young exception applied. See id. at 518 n.13; Russell

        Response Br., 2021 WL 6197790. The Subpoena is not a private suit, but if it were,


        32
          See Bonnet, 741 F.3d at 1161; Alltel Commc’ns, LLC v. DeJordy, 675 F.3d 1100,
        1104-05 (8th Cir. 2012).

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        Ex parte Young would allow it. See supra, pp. 37-43. Russell thus could not help the

        Department even if it were correctly decided and even if South Carolina had not

        waived the Department’s immunity.

              Russell was not correctly decided. Russell misapplies Supreme Court prece-

        dent, misapplies sister-circuit precedent, and misunderstands the relevant history.

        Nothing in Russell or the Department’s related arguments persuasively suggests a

        judicial subpoena is a suit.

                     1.     Russell and the Department misapply Supreme Court
                            precedent.

              A wealth of Supreme Court precedent both establishes that state sovereign

        immunity “does not reach every variety of judicial proceeding” and delineates when

        a “federal judicial action [may] fairly be deemed a ‘suit.’” In re NVR, 189 F.3d at

        450; see supra pp. 24-27. Russell cites none of that precedent—not Hood, not Hutto,

        not Weston, not Cohens—none. Russell looked in the wrong place because it answered

        the wrong question.

              Russell at first recognizes the question before the court—are “third-party sub-

        poenas . . . ‘suits’ to which sovereign immunity attaches”? 49 F.4th at 513. But then

        reframes it: “In other words, [does] sovereign immunity only appl[y] to defendants”?

        Id. The court’s reframing caused it to answer a totally different question—when is a

        suit naming an individual really against the State. See id. at 513-15. The Supreme

        Court precedent on that question, however, is not relevant until there is a suit. Cf. su-

        pra, pp 39-43 (discussing Ex parte Young as alternative grounds to affirm).


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              Russell’s reliance on Dugan v. Rank, 372 U.S. 609 (1963), highlights its mis-

        take. Dugan “echo[ed]” “earlier cases,” for the “general rule . . . that a suit is

        against the sovereign if the judgment sought would expend itself on the public treasury

        or domain, or interfere with the public administration, or if the effect of the judgment

        would be to restrain the Government from acting, or to compel it to act.” Russell, 49

        F.4th at 514 (quoting Dugan, 372 U.S. at 620 (emphasis added) (internal quotation

        marks omitted)). In Dugan, however, none disputed the action was an “injunction

        suit”—hence the focus on “the judgment[’s]” effect—so the Court never consid-

        ered whether there was a suit in the first place. 372 U.S. at 610, 620-23. 33 The De-

        partment likewise misapplies Dugan and its progeny. See Br. 10-11.

              The Department raises up semantics to obscure the cart it put before the

        horse. Following Russell’s lead, the Department plucks the word “process” from

        various Supreme Court decisions and from there reasons, a subpoena is process,

        ergo, a suit. See Br. 12-13; Russell, 49 F.4th at 514-15. But sovereign immunity does

        not bar all process against a State. See supra, pp. 24-27.

              Sovereign immunity bars process that seeks to remedy a wrong—“com-

        plaints,” however made. Ex parte Ayers, 123 U.S. at 505; Fed. Maritime Comm’n, 535

        U.S. at 760. The Department partially quotes Cohens’ definition of “suit” as “‘the

        prosecution, or pursuit, of some claim, demand, or request,’ . . . by which one makes


        33
          Unlike Russell, The Siren (cited at Russell, 49 F.4th at 514) distinguishes “direct
        suits,” which “cannot be maintained,” from other actions against sovereigns. 74
        U.S. (7 Wall.) 152, 154 (1868).

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        ‘the lawful demand of one’s right.’” Br. 12 (quoting Cohens, 19 U.S. at 407-08). But

        the omitted portion of Cohens’ definition makes clear that the process sovereign im-

        munity blocks is that “whereby [a] remedy is obtained” for a “wrong.” Cohens, 19

        U.S. at 407 (emphases added; quotation marks omitted); accord Weston, 27 U.S. at

        464 (“any proceeding . . . by which an individual pursues that remedy . . . which the

        law affords him” (emphasis added)); Ex parte Ayers, 123 U.S. at 502 (“[T]here is no

        remedy by suit against the state itself.”). A “remedy is anything a court can do for a

        litigant who has been wronged or is about to be wronged.” Douglas Laycock,

        Modern American Remedies 1 (2010). “Remedies give meaning to obliga-

        tions imposed by substantive law.” Id. (emphasis added); accord Sibbach, 312 U.S. at

        14.

              Judicial subpoenas are not private complaints and do not remedy any private

        wrongs. See 3 Wigmore on Evidence § 2195 (2d ed. 1904) (“The duty to give

        testimony is a duty to the State”). Thus, “[n]o state sovereign immunity issues are

        triggered by this subpoena because no ultimate relief is being sought from” the De-

        partment. Ott, 682 F.3d at 556. Subpoenas are judicial mandates aiding the federal

        courts’ exercise of federal judicial power. See supra, pp. 27-30. Because judicial sub-

        poenas on state agencies do not subject States to the indignity of “answer[ing] the

        complaints of private persons,” Fed. Mar. Comm’n, 535 U.S. at 760, States’ interests

        are indeed “less interesting when a sovereign is served with a subpoena duces tecum

        instead of a complaint.” Russell, 49 F.4th at 515.



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                 Finally, Russell turns to Mitchell v. Forsyth, 472 U.S. 511 (1985), for the propo-

        sition that “sovereign immunity is an immunity from . . . discovery.” 49 F.4th at 515.

        But all Mitchell says is that a litigant may not proceed to discovery until he has a viable

        suit. See 472 U.S. at 526. Mitchell just confirms that discovery is ancillary—no suit,

        no discovery. See supra, pp. 27-30.

                        2.     Russell and the Department misapply sister-circuit
                               precedent.

                 Having answered the wrong question, Russell and the Department then turn

        to lower court decisions to support the result. 49 F.4th at 516-19; Br. 15-18. None do.

                 They turn first to cases involving federal agencies’ sovereign immunity from

        subpoenas. 49 F.4th at 516-17. But none of the cited decisions considers whether a

        subpoena is a suit. See, e.g., Boron Oil Co. v. Downie, 873 F.2d 67, 70-71 (4th Cir.

        1989) (considering only whether subpoena issued to official was against the United

        States); EPA v. Gen. Elec. Co., 197 F.3d 592, 597 (2d Cir. 1999) (same); Louisiana v.

        Sparks, 978 F.2d 226, 235 (5th Cir. 1992) (same).

                 In any event, the Supreme Court has expressly distinguished the United

        States’ immunity from “the State’s sovereignty vis-á-vis the Federal Government.”

        Lapides, 535 U.S. at 623. The decisions cited exemplify the difference. Take Boron,

        which involved a state judicial subpoena issued to a federal official demanding an act

        contrary to federal regulations. See 873 F.2d at 69. 34 As this Court has explained,



        34
             Several other decisions Russell relies on track this fact pattern. See 49 F.4th at 516.

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        Boron’s application of sovereign immunity ultimately “reflect[ed] the principle of

        federal supremacy.” Smith v. Cromer, 159 F.3d 875, 880 (4th Cir. 1998); contra Rus-

        sell, 49 F.4th at 517 n.11 (reading Boron differently). “[T]he doctrine of sovereign

        immunity . . . preclude[s] state courts, or a federal court on removal, from reviewing

        federal agency action.” Smith, 159 F.3d at 880. With federal judicial subpoenas to

        state agencies and officials, however, federal supremacy points the opposite direc-

        tion. See supra, pp. 25-26, 37-43.

              The decisions involving federal subpoenas to federal agencies are similarly un-

        helpful. None had to grapple fully with sovereign immunity, let alone with whether

        a Rule 45 subpoena is a suit, because Congress waived sovereign immunity for non-

        monetary actions. See 5 U.S.C. § 702.

              In any case, federal sovereign immunity is not limited to suits. See Smith, 159

        F.3d at 880. A wellspring of a sovereign’s immunity in its own courts is separation

        of powers. See Sanchez-Espinoza v. Reagan, 770 F.2d 202, 207 n.5 (D.C. Cir. 1985)

        (Scalia, J.) 35; see also McMellon v. United States, 387 F.3d 329, 341-42 (4th Cir. 2004)

        (en banc). Judicial mandates (like subpoenas) to executive officers and agencies nec-

        essarily raise separation of powers concerns. See, e.g., Decatur v. Paulding, 39 U.S.

        (14 Pet.) 497, 516 (1840) (“The interference of the Courts with the performance of

        the ordinary duties of the executive departments of the government, would be



         Abrogated on other grounds by Steel Co. v. Citizens for a Better Environment, 523
        35

        U.S. 83 (1998).

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        productive of nothing but mischief . . . .”). Each of the cited decisions involves a con-

        flict between the Branches—judicial power under Rule 45 versus executive agency

        power under the federal Housekeeping Statute. 36 See Exxon Shipping Co. v. U.S.

        Dep’t of Interior, 34 F.3d 774, 778-79 (9th Cir. 1994); see also Gen. Elec., 197 F.3d at

        597. Those concerns were absent in Russell and are absent here.

              Russell and the Department also look to two decisions applying tribal immun-

        ity. See 49 F.4th at 517-19; Br. 15-18. But tribal “immunity is not congruent with that

        which the . . . States, enjoy.” Three Affiliated Tribes of Fort Berthold Rsrv. v. Wold

        Eng’g, 476 U.S. 877, 890 (1986). Rather, tribal immunity “is subject to plenary fed-

        eral control and definition.” Id. at 891. Tribal sovereign immunity serves broad fed-

        eral goals—“encouraging tribal self-sufficiency and economic development.” Okla.

        Tax Comm’n v. Citizen Band Potawatomi Indian Tribe of Okla., 498 U.S. 505, 510

        (1991). Thus, inherent in decisions applying tribal immunity is the federal-tribal

        “trust relationship” that includes “protect[ing] . . . Indian tribes from outsiders”

        and “preserv[ing] tribal self-government, a measured separatism largely free

        from . . . non-Indian interference yet bolstered by the support of the federal govern-

        ment.” Restatement of the Law of American Indians § 4 cmt. c-d




        36
           The “head of an Executive department . . . may prescribe regulations for
        the . . . the conduct of its employees, . . . and the custody, use, and preservation of its
        records, papers, and property.” 5 U.S.C. § 301. Under that statute, federal agencies
        issue regulations controlling responses to subpoenas. See, e.g., 40 C.F.R. §§ 2.401-
        406; see also United States ex rel. Touhy v. Ragen, 340 U.S. 462, 468 (1951).

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        (2022). Both decisions cited relied on the importance of these federal policies to de-

        fine tribal sovereign immunity. See Alltel Commc’ns, LLC v. DeJordy, 675 F.3d 1100,

        1105 (8th Cir. 2012); Bonnet, 741 F.3d at 1160-61.

              Even more, Alltel and Bonnet contain their own errors. Both presaged Russell

        by treating anything unfavorable to the State as a suit. Alltel gets there by overreading

        Dugan. See 675 F.3d at 1102-03; supra, p. 45. And Bonnet concludes that a subpoena

        is a “suit” because it may result in “an adversary process,” 741 F.3d at 1160-61, a

        conclusion that directly conflicts with Hood, see 541 U.S. at 451-52 (state sovereign

        immunity did not bar “adversary proceeding”); see also, supra, pp. 45-46 (discussing

        “process”).

                      3.    Russell and the Department misunderstand the relevant
                            history.

              Finally, history. The Department claims “[t]wo hundred years of prece-

        dent confirms that states are immune from federal court subpoenas.” Br. 11 (under-

        lining omitted). But the relevant history shows just the opposite—sovereign immun-

        ity was never a bar from judicial subpoenas. See supra, pp. 30-37.

              Russell at least acknowledges history is not on its side. See 49 F.4th at 519. But

        the court handwaves this history because none of the historical subpoena recipients

        ever raised sovereign immunity. See id. The court heard hoof beats and thought zebra.

        The correct takeaway from the failure—for hundreds of years—of anyone to raise

        sovereign immunity (or any other immunity) is not that subpoena recipients were

        happy to cooperate, but that they had no sovereign immunity to assert.


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              In fact, Russell concedes at least that Chief Justice Marshall’s treatment of

        President Jefferson gives pause. See id. But the court explains Burr away as a criminal

        procedure issue. See id. Russell misreads Burr. Before Chief Justrice Marshall con-

        cluded that Jefferson was not exempt from a judicial subpoena, he first “looked for”

        any comparable exception “in the law of evidence.” 25 F. Cas. at 34. Marshall found

        nothing:

                     In point of fact it cannot be doubted that the people of Eng-
                     land have the same interest in the service of the executive
                     government, that is, of the cabinet counsel, that the Amer-
                     ican people have in the service of the executive of the
                     United States, and that their duties are as arduous and as
                     unremitting. Yet it has never been alleged, that a subpoena
                     might not be directed to them.

        Id. And for much of that history Marshall considered, subpoenas issued only in civil

        cases. See 3 Wigmore on Evidence, supra, § 2190 (2d ed.); see also id. § 2191

        (explaining that criminal compulsory process was no greater than civil).

              History, along with Supreme Court precedent and constitutional structure, is

        conclusive—state agencies are not immune from federal judicial subpoenas.

                                           Conclusion

              The Court should affirm.




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        December 1, 2023                   Respectfully submitted,


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              I certify that this appellee’s brief was filed with the Court via the court’s elec-

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